Case 3:19-Cv-O4753-AET-T.]B Document6 Filed 02/08/19 Page LQ§§D§H@§[B;SQ§|ZT

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4 3 8 1 6 4 NEWJERSEY

DOCKET NO. 3:19-CV-04753-AET

P|aintiff
DEFENCE D|STR|BUTED, ET AL.,
Defendant vs

GuRBlR s. GREWAL,
AFFIDAV|T OF SERV|CE

(for use by private Service)
Person to be served: GURB|R S. GREWAL
c/o ATTORNEY GENERAL OF NEW JERSEY
Address: $
25 MARKET ST.
HUGHES JUST|CE COMPLEX
TRENTON NJ 08625

Cost of Service pursuant to R4:4-30

Attorney:
HARTMAN & W|NNlCK|, P.C.
74 PASSA|C AVE.
R|DGEWOOD NJ 07450

Papers Served:
suMMoNs; vERlFlED coMPLAlNT; clvlL covER sHEET; PLAlNTlFF's BR|EF; PLAlNTlFF's PRoPosED 0RDER To snow cAusE wer TEMPORARY RESTRAINING

ORDER; PLA\NT|FF'S PROPOSED ORDER GRANT|NG PREL|M|NARY |NJUNCT|ON; DECLARAT|ON OF BRANDON COMBS; DECLARAT|ON OF DAN|EL HAMMOND;
CERT|F|CATE OF SERV|CE; CORPORATE D|SCLOSURE STATEMENT; EXH|B|TS

Service Data:

 

 

;’ !' . ' '” ' .
Served Successfu|ly Not Served Date: :2 g l ( Time: Q. "/l /j”l Attempts:
De|ivered a copy to him/her personally Name of Person Served and relationship/title
_ Left a copy with a competent household /;/ }(j'[,»*) 5 cf / f :7_

 

member over 14 years of age residing therein at place of abode.

 

v Left a copy with a person authorized to accept
service, e.g. managing agent, registered agent, etc.

 

Description of Person Accepting Service:

Age:7(:) Height: 3"3 Weight: /'é,-LF’ Hair: A"/`Aj- Sex: /; Race: LV47(

Non-Served:
( ) Defendant is unknown at the address furnished by the attorney
( ) A|l reasonable inquiries suggest defendant moved to an undetermined address
( ) No such street in municipality

 

 

 

 

 

( ) No response on: Date Time
Date Time
Date Time
( ) Other: Comments or Remarks
l, TUGRUL TURNA , was at
§_ubscribed and Sworn to me this time of se ice a competent adult not having a direct

  

day of /:gi` [':';Z['Z'j('(" r"\// Ji)/ (/ int - . ' e litigation. l declare under penalty

of o - r 4 t f regoing is true and correct.

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g i e 0 ess Server Date

'/, l DGR - THE souRcE FoR LEGAL suPPoRT work order No. 438164
ROBERT ClFELLl 1359 Littleton Road, Morris Plains, NJ 07950-3000 _
NoTARY Puauc oF NEwJERsEY <913) 403-1100 Fax (913) 403-9222 F"e N°- 1 9~CV~°4753-AET'TJB
My Commlsslon Exp|res 10/8/2023

 

 

 

 

 

  

